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AO 91 (Rev. 11/11) Criminal Complaint | i
UNITED STATES DISTRICT COU

for the
Northern District of New York

 
    
  

UNITED STATES OF AMERICA

H
Vv. q

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JONATHAN M. CUNEY,

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Defendant.
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief. On
or about the dates of September 9-10, 2019, in the county of Rensselaer in the Northern District of New York,

the defendant violated:

Code Section Offense Description
Title 18, United States Code, Unlawful possession of a firearm by a felon
§ 922(g)(1)

This criminal complaint is based on these facts:
Please see attached affidavit.

& Continued on the attached sheet. Cf Co

 

Attested to by the Applicant in Accordance with
the Requirements of Rule 4.1 of the Federal
Rules of Criminal Procedure. ATF Special Agent Young Choi

Complainant ’s signature

 

Printed name and title

Sworn to before me and signed in my presence.
Date: November 18, 2019 State TD ky

 

 

Judge's signature

City and State: Albany, New York Hon. Christian F. Hummel, U.S. Magistrate Judge

 

Printed name and title
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Affidavit in Support of a Criminal Complaint

I, Young Choi, a Special Agent of the Bureau of Alcohol, Tobacco, Firearms &
Explosives (ATF), being first duly sworn, hereby depose and state as follows:

1. 1 am a Special Agent of the ATF, and have been so employed since September
2012. I ama graduate of the Criminal Investigator Training Program at the Federal Law
Enforcement Training Center in Glynco, GA, and the ATF Special Agent Basic Training
Program at the ATF National Academy also located in Glynco. Prior to my employment with
ATF, I was a military prosecutor and defense attorney with the United States Marine Corps, and
also worked as a Traffic Safety Resource Prosecutor for the State of New York. My duties at
ATF include the investigation of federal firearm violations and related crimes.

2. I submit this affidavit in support of a criminal complaint with accompanying arrest
warrant charging JONATHAN M. CUNEY (“CUNEY”) with a violation of Title 18, United States
Code, § 922(g)(1), possession of a firearm by a felon, occurring on or about September 9-10, 2019,
in East Greenbush, New York.

3. I make this affidavit from personal knowledge based on my participation in this
investigation, including witness interviews and my review of reports by myself and/or other law
enforcement agents, communications with others who have personal knowledge of the events and
circumstances described herein, and information gained through my training and experience. The
information outlined below is provided for the limited purpose of establishing probable cause and
does not contain all details or all facts known to me regarding this investigation. Where statements

of others are related in this affidavit, they are related in substance and in part.
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Basis for a Probable Cause Finding

4, CUNEY is in federal custody in Arizona and the subject of two (2) other federal
criminal complaints. A criminal complaint issued out of the Western District of Missouri charges
him with being a felon in unlawful possession of ammunition on September 18, 2019. CUNEY
was arrested on November 12, 2019, near Tucson, Arizona, and found to be in unlawful possession
of two firearms, resulting in a complaint being filed against him in the District of Arizona.

5. CUNEY is already a federal felon, previously investigated by ATF as a resident of
East Greenbush, New York. CUNEY, age 36, is a former Marine Corps Sergeant who worked in
firearms sales for several well-known companies, and also sold firearms and related equipment
through companies he founded. One of his Federal Firearms Licenses was called American
Armaments LLC based out of Providence, Rhode Island.

6. On December 22, 2015, CUNEY was sentenced to 37 months in prison and 2 years
of supervised release, following a guilty plea, in the United States District Court for the Southern
District of New York, to transporting and selling firearms with obliterated serial numbers while he
was a licensed firearms dealer.

7. According to the U.S. Bureau of Prisons, CUNEY was released from prison on
April 4, 2017. He thereafter returned to East Greenbush, and began his term of supervised release.
On or about May 21, 2018, following his pro se petition to the Court, CUNEY was granted early
termination from supervision.

8. On November 14, 2019, ATF Albany sought and obtained a search warrant from
this Court for a storage unit located at Store Away Self-Storage, 520 Columbia Turnpike, East
Greenbush, less than a mile away from where CUNEY maintains a residence. Records revealed

that CUNEY started renting storage unit 4020 on September 9, 2019. According to the New
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Tenant Information Sheet and also the NY Monthly Occupancy Agreement, CUNEY provided a
Wyoming address that an ATF investigation has revealed is associated with CUNEY, and also
provided his Wyoming driver’s license that was photocopied by Store Away Self-Storage. He also
signed these documents with his name. I am familiar with CUNEY’s identity and recognize
CUNEY from the photocopied driver’s license. According to the storage unit’s computerized
records, CUNEY accessed his storage unit on September 9 and 10, 2019, and at no other dates or
times.

9. Upon execution of the federal search warrant on November 14, 2019, ATF Albany
seized numerous firearms, ammunition, and other items of evidentiary value. Several of the
firearms are associated with being transferred to American Armaments, LLC, CUNEY’s old
Federal Firearms License from Rhode Island.

10. | One of the firearms seized at this storage unit was a Springfield Armory, Model M-
1A SOCOM 16 QCB, .308 cal/7.62x51 mm, semiautomatic rifle, bearing SN 396898. This firearm
is currently in custody at ATF Albany.

11. On November 14, 2019, ATF Special Agent Jason Sherman, who has received
training and is certified in regards to interstate nexus determinations of firearms and ammunition,
provided a verbal opinion that the Springfield Armory, Model M-1A SOCOM 16 QCB, .308
cal/7.62x51 mm, semiautomatic rifle, bearing SN 396898, was manufactured outside the State of

New York; accordingly, it has previously moved in interstate commerce.
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12. Based on the foregoing, there is a probable cause to charge JONATHAN M.
CUNEY for violating Title 18, United States Code, Section 922(g)(1), for possessing a firearm as

a felon on or about September 9-10, 2019 in the Northern District of New York.

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ATF Special Agent Young Choi

Subscribed to and sworn to
Before me this 18th day of November, 2019

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Hon. Christian F. Hummel
U.S. Magistrate Judge
Northern District of New York

 
